        Case 1:01-cv-12257-PBS Document 7309-1 Filed 11/23/10 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 IN RE PHARMACEUTICAL INDUSTRY                              Master Civil No. 01-cv-12257
 AVERAGE WHOLESALE PRICE
 LITIGATION                                                 MDL No. 1456

 THIS DOCUMENT RELATES TO:                                  Judge Patti B. Saris
 BRISTOL MYERS SQUIBB SETTLEMENT



             ORDER FOR FINAL CONSIDERATION OF BMS SETTLEMENT

                                      NOVEMBER ___, 2010

 Saris, U.S.D.J.



         This Court has heard from counsel during several hearings on the status of the Class 1, 2

and 3 aspects of the Settlement with Bristol Myers Squibb (“BMS”). This Court also received, on

November 19, 2010, the sworn testimony of Cindy Weigel, an employee of Buccaneer, a Vangent

Company (“Buccaneer”) the vendor working with CMS to produce data to effectuate notice to

Class 1. A memorandum of understanding concerning a Class 1 settlement was first proposed in

June of 2007. The participants must proceed with dispatch. This Court has jurisdiction over the

parties, the parties’ counsel, the data vendor and the Claims Administrator. Accordingly, this

Court ORDERS the following:

         1. Data Production. This Court hereby orders that the Centers for Medicare and

Medicaid Services (“CMS”) and its vendors, the Research Data Assistance Center (“RESDAC”)

and Buccaneer, shall, no later than December 15, 2010, produce to the Claims Administrator

electronic data sufficient to identify all transaction information for individuals for whom CMS

reimbursed any of the specific drugs involved in the Settlements, as identified in a separate list of
        Case 1:01-cv-12257-PBS Document 7309-1 Filed 11/23/10 Page 2 of 3




356 J Codes or HCPCS. These HCPCS should be run against the Outpatient SAF, Carrier SAF

and DME SAF files for all beneficiaries that had any one of the submitted HCPCS, outputting

only the claims with the submitted HCPCS. These should also be run against the Vital Status file

with names and addresses (alive and dead). The exact data to be provided is further identified in

the letter from Buccaneer to Class Counsel dated November 1, 2010.

        2. Class Counsel To Assist. This Court hereby orders that Class Counsel shall take all

 reasonable steps necessary to ensure that the necessary data is transferred to the Claims

 Administrator by December 15, 2010.

        3. If the data mentioned above is not produced by December 15, 2010, the Court intends

 to hold a hearing to determine if CMS, RESDAC, Buccaneer and/or Class Counsel are in

 contempt of this Order.

        4. Further Schedule. This Court hereby further orders Plaintiffs and Class Counsel, the

Claims Administrator, and BMS and its counsel to exercise all reasonable efforts to complete the

BMS Class 1 Settlement approval process on the following schedule:


     December 31, 2010            Direct Mail Notice sent to Potential BMS Class 1 Members


     January 31, 2011             Deadline for Class 1 Members to return Initial Notice Cards


     February 14, 2011            Class Plaintiffs file Motion for Attorney Fees and Expenses




                                                  2
          Case 1:01-cv-12257-PBS Document 7309-1 Filed 11/23/10 Page 3 of 3




        February 28, 2011           Deadline for Objections, Exclusions and Filing of Claims


        March 7, 2011               Class Counsel Files Recommendations on Use of Any
                                    Excess Settlement Funds (the Court may thereafter issue,
                                    prior to the final approval hearing date, an order to show
                                    cause why a particular use of excess funds is not
                                    appropriate)

        March 21, 2011              Class Plaintiffs File material In Support of Final Approval of
                                    Class 1 Settlement


           5. Final Approval Hearing. The Final Approval Hearing for the BMS Class 1

Settlement will be held on March 28, 2011 at 2:00 P.M. in Courtroom 22. A postponement will

only be granting sparingly, and only after (i) a showing of good cause measured by the protracted

nature of these proceedings and (ii) with sufficient notice to the Court in advance of the hearing

date.

           6. Status Reports. Class Counsel shall file with the Court monthly status reports

detailing the progress of the BMS Settlement. These reports shall include a statement about

whether the deadlines in paragraph 4 of this Order have been complied with and whether there is a

substantial chance that future deadlines will not be met. The first such report shall be filed on

December 17, 2010. Subsequent reports shall be filed on the first day of each month.

           7. Service. Class Counsel shall serve copies of this Order on the Claims Administrator,

 CMS, RESDAC and Buccaneer. Class Counsel shall thereafter promptly file with the Court a

 notice of completion of service.



                                                               ___________________________
                                                               Patti B. Saris
                                                               United States District Judge



                                                   3
